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 4
     Attorneys for Plaintiffs
 5
                                  UNITED STATES DISTRICT COURT
 6                                     DISTRICT OF NEVADA
 7    RAYMOND PELOSI, an individual;
      UNITED STORAGE TECHNOLOGIES                     Case No. 2:20-cv-01635-RFB-EJY
 8    INC., a Nevada Corporation
 9                   Plaintiff,                       Joint Status Report
10    v.
11    DOLLAR GENERAL CORPORATION, a
      Tennessee Corporation; JOHN DOES 1 –
12    10; ROE CORPORATIONS 1 – 10.
13                   Defendant.
14

15         Plaintiffs Raymond Pelosi and United Storage Technologies Inc. (“Plaintiffs”), by and
16   through their attorneys Evan D. Schwab, Esq. of Schwab Law Firm PLLC (“SLF”) and
17   Defendant Dollar General Corporation (“Defendant”), by and through their attorneys
18   Michael J. Hickey, Esq. of Lewis Rice, hereby file this Joint Status Report as follows.
19         On October 16, 2021 the Court entered a Minute Order in Chambers [ECF 33]
20   acknowledging the filing of the Joint Status Report by the Parties on October 14, 2021
21   [ECF 32] and directing that the Parties “file settlement documents, stipulation for
22   dismissal or joint status report within fourteen days.”
23         Since that time, the Parties have worked diligently to resolve this case. The Parties
24   reached agreement on the material terms of the settlement and are in the process of
25   preparing the Settlement and Release Agreement (“Settlement Agreement”). Pre-
26   existing trial schedules, client availability, vacation schedules and the like have made
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 1   completing the Settlement Agreement and executing the same difficult within the given

 2   window of time.

 3      The Parties respectfully request an additional two weeks to draft, finalize and obtain

 4   the necessary signatures to the Settlement Agreement.

 5   Dated this 1st day of November 2021             Dated this 1st day of November 2021

 6   Schwab Law Firm PLLC                            Lewis Rice

 7   /s/ Evan Schwab                                 /s Michael Hickey
     ____________________________________            _____________________________________
 8   Evan D. Schwab (NV Bar No. 10984)               Michael J. Hickey (MO Bar No. 63101)
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                           2nd day of November, 2021.
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 1                                   Certificate of Service

 2      The undersigned hereby certifies that a true and correct copy of the foregoing Joint

 3   Status Report was served electronically using the CM/ECF system on the 1st day of

 4   November 2021 to the following parties registered for electronic service in this matter:

 5                Brian J. Pezzillo, Esq.

 6                c/o Howard & Howard Attorneys PLLC

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16
                                                    /s/ Dana Spahic
17                                                  ______________________________
                                                    An Employee of Schwab Law Firm PLLC
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